Case 2:20-cv-02291-DOC-KES Document 279 Filed 04/22/21 Page 1 of 1 Page ID #:7467




                         UNITED STATES DISTRICT COURT
                        CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES – GENERAL

   Case No. LA CV 20-02291-DOC-KES                                     Date: April 22, 2021

  Title: LA ALLIANCE FOR HUMAN RIGHTS ET AL. v. CITY OF LOS ANGELES ET
         AL.


  PRESENT:

                     THE HONORABLE DAVID O. CARTER, JUDGE

                 Kelly Davis                                    Not Present
               Courtroom Clerk                                 Court Reporter

        ATTORNEYS PRESENT FOR                         ATTORNEYS PRESENT FOR
              PLAINTIFF:                                   DEFENDANT:
             None Present                                   None Present


         PROCEEDINGS (IN CHAMBERS): CLARIFICATION ORDER

         The Court provides the following two clarifications regarding the Preliminary
  Injunction issued on April 20, 2021. First, the directives under “Accountability” and
  “City- and County-Wide Actions” pertain to all districts in the City and County and are
  not limited in any way to Skid Row. Second, the provision regarding the cessation of
  sales and transfers by lease or covenant under Section 2(a)(ii) does not apply to projects
  in progress as of the date of the order, April 20, 2021.

         The Clerk shall serve this minute order on the parties.
